Case 16-41520-rfn13 Doc 50 Filed 11/20/17

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ATTORNEYS FOR DEBTOR(S)

IN THE UNITED STATES

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BANKRUPTCY COURT

FOR THE NORTHERN DISTRICT OF TEXAS
FORT WORTH DIVISION

IN RE:
CARLOS MARTINEZ DUNCKER

DEBToR(s)

QO>QO'>OOOQO'>

CASE NO. 16-41520-13

 

NOTICE OF CHANGE OF ADDRESS
FILED ON BEHALF OF DEBTOR(S)

Please correct your records to reflect the following as the new mailing address for the

debtor(s) in this proceeding:

CARLOS MARTINEZ DUNCKER
8404 FOREST LANE, APT. 1305
DALLAS, TX 75243

NOTICE OF CHANGE OF ADDRESS
FILED ON BEHALF OF DEBTOR{S}

   
  
 

_ - a lOth day of November,
2017 . Vida
State Bar
Carla Reed Vid

State Bar No. 1 674445

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